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   1     Paul Alan Levy (pro hac vice sought)
         Public Citizen Litigation Group
   2     1600 20th Street NW
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   3     (202) 588-7725
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   4
         Stephen Kirby, WSBA #43228
   5     Kirby Law Office, PLLC
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   6     Spokane, WA 99201
         (509) 795-4863 | (510) 588-4732
   7     kirby@kirbylawoffice.com
         Attorneys for Defendant
   8

   9                              UNITED STATES DISTRICT COURT

 10                        FOR THE EASTERN DISTRICT OF WASHINGTON

 11      PREPARED FOOD PHOTOS, INC.,                   )
         f/k/a ADLIFE MARKETING &                      )
 12      COMMUNICATIONS CO., INC.,                     )
         a Florida for profit corporation,             )      No. 2:23-cv-00160-TOR
 13                                                    )
                            Plaintiff,                 )      MOTION FOR ADMISSION OF
 14                                                    )      PAUL ALAN LEVY PRO
                      v.                               )      HAC VICE
 15                                                    )
         POOL WORLD, INC., a Washington for            )
 16      profit corporation,                           )
                                                       )
 17                         Defendant.                 )

 18            Defendant Pool World, Inc., through undersigned counsel, moves the Complaint

 19      Court to admit its lead counsel, pro hac vice, for the following reasons:

 20            1. Paul Alan Levy is an attorney at Public Citizen Litigation Group and maintains his

 21      practice at 1600 20th Street NW. Washington, D.C. 20009, where his phone number is (202)

 22      588-7725 and his email address is plevy@citizen.org.

 23            2. Mr. Levy has been admitted to practice in the District of Columbia since 1978, in

 24      New York since 1984, and in many federal courts. A complete list of his bar admissions is

 25      attached as Exhibit A.

 26            3. Mr. Levy’s local co-counsel will be Stephen Kirby, WSBA #43228, whose firm

 27      is Kirby Law Office, PLLC, at 1312 North Monroe Street, Spokane, Washington 99201,

 28      where his phone numbers are (509) 795-4863 | (510) 588-4732 and his email address is


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   1     kirby@kirbylawoffice.com.

   2           4. Pool World has retained Mr. Levy to provide pro bono representation in this case,

   3     because he has specialized in online speech and intellectual property litigation since the turn

   4     of the century. See https://www.citizen.org/about/person/paul alan levy/; Eugene Volokh,

   5     “May Be The Most Helpful Brief I’ve Ever Read,” Volokh Conspiracy (May 19, 2022),

   6     https://reason.com/volokh/2022/05/9/may-be-the-most-helpful-brief-ive-ever-read/.

   7           5. There are no pending disciplinary proceedings regarding Mr. Levy. He has never

   8     been the subject of disciplinary sanctions from a bar or bar association, except that, on two

   9     occasions, when bars in two jurisdictions in which he no longer practiced started charging

 10      renewal fees, without Mr. Levy having learned of the changes, his membership was

 11      suspended. When Mr. Levy learned of the fees, he resigned from each of the bars.

 12

 13
                                                    Respectfully submitted,
 14

 15                                                      /s/ Stephen Kirby
                                                    Stephen Kirby, WSBA #43228
 16                                                 Kirby Law Office, PLLC
                                                    1312 N. Monroe St.
 17                                                 Spokane, WA 99201
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 18                                                 kirby@kirbylawoffice.com
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                                                    Paul Alan Levy (pro hac vice sought)
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 23
                                                    Attorneys for Defendant
 24
         June 26, 2023
 25

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   1

   2                                          EXHIBIT A
   3     Michigan Bar               May 20, 1977 (resigned)
         D.C. Bar                   March 14, 1978          Bar No. 946400
   4     New York Bar               January 16, 1984        Bar No. 1894005

   5     United States District Courts:
         E.D. Mich          1977
   6     D. Md.:            1978 (since resigned)
         D.D.C.:            May 1, 1978
   7     S.D. Ill.          2000 (since resigned)
         D. Colo.           2009 (since resigned)
   8     S.D.N.Y.           2011

   9     United States Courts of Appeals: (all court of appeal dates are approximate)

 10      D.C. Circuit 1980
         1st Circuit 1991
 11      2d Circuit 1983
         3d Circuit 1980
 12      4th Circuit 1981
         5th Circuit 1990
 13      6th Circuit 1986
         7th Circuit 1985
 14      8th Circuit 1985
         9th Circuit 1984
 15      10th Circuit 1985
         11th Circuit 1986
 16
         Supreme Court of the United States       1980
 17
         Pro hac admissions in a variety of states and US District Courts
 18
         I maintained my Michigan Bar membership for many years after moving to D.C. following
 19      a judicial clerkship in Michigan, but took inactive status, which at the time meant there was
         no dues requirement. Unbeknownst to me, the Michigan Supreme Court ruled that inactive
 20      members would have to pay dues; my Michigan license was eventually suspended for
         non-payment of those dues. When I learned of this change, I resigned from the Michigan
 21      Bar.

 22      Similarly, many years after I was admitted to the United States District Court for the District
         of Maryland, that court imposed a requirement of periodic fees. I received no notice of that
 23      rule and was suspended for nonpayment. When I learned of the new rule, I resigned from
         that Bar.
 24
         I resigned from the Bars of the Southern District of Illinois and the District of Colorado after
 25      those courts decided to start charging periodic fees.

 26
                                                               /s/ Paul Alan Levy
 27

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   1                                  CERTIFICATE OF SERVICE

   2     I hereby certify that on this 26th day of June, 2023, I am electronically filing the foregoing

   3     with the Clerk of the Court using the CM/ECF System, which in turn will automatically

   4     generate a Notice of Electronic Filing (NEF) to all parties in the case who are registered

   5     users of the CM/ECF system. The NEF for the foregoing will specifically identify the

   6     recipients of electronic notice. I hereby certify that I have mailed the document by United

   7     States Postal Service to the following non-CM/ECF participants: none.

   8

   9                                                      /s/ Stephen Kirby
                                                    Stephen Kirby, WSBA #43228
 10                                                 Kirby Law Office, PLLC
                                                    1312 N. Monroe St.
 11                                                 Spokane, WA 99201
                                                    (509) 795-4863
 12                                                 kirby@kirbylawoffice.com
 13                                                 Attorney for Defendant
 14      June 26, 2023
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